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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA
                                    www.scb.uscourts.gov


IN RE:                                        )
                                              )         CASE No. 17-03751-dd
                                              )
Melvin Leonard Wimmer, Jr.,                   )
                                              )
                      Debtor.                 )         CHAPTER 13
                                              )
                                              )
         REQUEST TO BE REMOVED FROM CM/ECF ELECTRONIC SERVICE LIST
                         AND MAILING-LABELS MATRIX

TO THE COURT AND TO ALL COUNSEL OF RECORD:

       The South Carolina Department of Employment and Workforce (SCDEW), a purported

creditor in this bankruptcy proceeding, by and through its undersigned counsel, hereby requests the

Clerk of the Court to remove SCDEW from this case’s CM/ECF electronic service list and the mailing-

labels matrix.

       The debtor in this case owes no debts to SCDEW. Therefore, it is not necessary that SCDEW

be noticed on future filings. The address to be removed from the Mailing-Labels Matrix is as follows:

   1. S.C. Department of Employment & Workforc
      P.O. Box 995
      Columbia SC 29202


   2. S.C. Dept. of Employment and Workforce
      BPC Collection Unit
      P.O. Box 2644
      Columbia SC 29202

                                                    /s/ Trey McLeod______________
                                                    E.B. “Trey” McLeod, III
                                                    SC District Court #10838
                                                    S.C. Department of Employment & Workforce
                                                    Post Office Box 8597
                                                    Columbia, South Carolina 29202
                                                    (803) 737-3043
Date: December 12, 2018                             tmcleod@dew.sc.gov
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                              CERTIFICATE OF SERVICE

I hereby certify that on December 12, 2018, SCDEW’s “REQUEST TO BE REMOVED FROM
CM/ECF ELECTRONIC SERVICE LIST AND MAILING LABELS MATRIX,” was served to
all parties and/or their counsel of record who receive electronic service.


                                           /s/ Trey McLeod______________
                                           E.B. “Trey” McLeod, III
